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                               FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                          Plaintiff,
                                                                         8:25CR\ \ =/-
          vs.
                                                                  PLEA AGREEMENT
 JOYA M. KINNEY,

                          Defendant.


          IT IS HEREBY AGREED between the plaintiff, United States of America, through its
 counsel, Matthew R. Molsen, Acting United States Attorney and John E. Higgins, Assistant
 United States Attorney, and defendant, Joya M. Kinney, and Ryan S. Crnkovich, counsel for
 defendant, as follows:
                                                      I
                                                  THE PLEA
 A.       CHARGE(S) & FORFEITURE ALLEGATION(S).
          Defendant agrees to waive Indictment and plead guilty to Count I of an Information.
 Count I charges a violation of Title 18, United States Code, Section 666(a)(l)(A).
 B.       In exchange for the defendant's plea of guilty as indicated above, the United States
 agrees as follows:
          1.     The United States agrees that the defendant will not be federally prosecuted in the
 District of Nebraska for offenses related to theft, embezzlement, fraud or conversion as disclosed
 by the discovery material delivered to the defendant's attorney as of the date this agreement is
 signed by all parties, other than as set forth in paragraph A, above. This agreement not to
 prosecute the defendant for specific crimes does not prevent any prosecuting authority from
 prosecuting the defendant for any other crime, or for any crime involving physical injury or
 death.
                                                     II
                                       NATURE OF THE OFFENSE
 A.       ELEMENTS EXPLAINED.
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         Defendant understands that the offense to which defendant is pleading guilty has the
 following elements:
      1. Defendant was an agent of an organization;
      2. Defendant embezzled, stole, obtained by fraud, or converted to her own use or the use of
         another person without authority property of a value of $5,000 or more;
      3. The property was owned by or under the care, custody or control of the organization; and
      4. The organization received benefits in excess of $10,000 in the one year period beginning
         April 1, 2020, pursuant to a federal program involving a grant, contract, subsidy, loan,
         guarantee, insurance or other federal assistance.
 B.      ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS.
         Defendant has fully discussed the facts of this case with defense counsel. Defendant has
 committed each of the elements of the crime, and admits that there is a factual basis for this
 guilty plea. The following facts are true and undisputed.
         From 2014 until her termination in May 2023, Defendant was the bookkeeper for an
 incorporated private school located in Nebraska (the "School"). As the bookkeeper for the
 School, Defendant was responsible for making financial entries into the accounting system the
 School used. She also deposited monies into the School's checking account, which was with a
 bank in Nebraska, and reconciled the School's accounting system entries with the School's
 checking account.
         As part of her responsibilities at the School, Defendant had access to a credit card in the
 name of the School which she was authorized to use to make purchases on behalf of the School.
 Defendant also had access to the School's bank account(s), including the means to conduct
 online transactions.
         At times, parents of School students made cash payments at the School. Whoever
 received the funds in the School's office provided a written receipt and initialed it. A copy was
 given to the parent and another copy was retained for the School's records. Money received at
 the office was placed in a lock box in the main office area. Defendant was the individual
 responsible for removing funds from the lockbox and depositing them at the bank and for
 making the corresponding entries in the School's accounting system.
         In May of 2023, an outside auditor reported inconsistencies in the School's accounting
 records. Specifically, the auditor noted four withdrawals of $10,000 each from a cash account in

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 the accounting system that created cause for concern. Defendant later admitted to School staff
 that she conducted the four $10,000 cash withdrawals and that they were not authorized by the
 School. Defendant was terminated from her position at the School after this admission. An audit
 requested by the School revealed additional financial discrepancies.
         The Federal Bureau oflnvestigation conducted an investigation that verified and
 amplified the findings from the audit. Specifically, the records and other evidence gathered by
 the FBI showed that, during approximately March 2016 to May 2023, Defendant embezzled,
 stole, obtained by fraud, and converted approximately $452,176 of School funds in the following
 ways.
            •   During July 2019 to May 2023, Defendant embezzled or stole approximately
                $248,606 in cash, most of which she deposited into her business and personal
                accounts. During July 2016 to April 2023, there was about $190,000 of cash
                deposits into Defendant's business bank account.
            •   During September 2020, there was one check totaling approximately $1,304
                drawn on the School's account and deposited into Defendant's personal account.
                The check was for goods or services that neither Defendant nor any member of
                her family provided.
            •   During August 2019, there was one check totaling approximately $8,580 drawn
                on the School's account and payable to a company that sells vending machines
                and items to place inside vending machines. No purchase from that company was
                authorized by the School.
            •   During January 2019 to May 2020, there was about $94,472 in unauthorized
                electronic payments from the School's bank account that paid charges on
                Defendant's personal credit card.
            •   During March 2016 to May 2023, there was approximately $99,213 in
                unauthorized purchases from Amazon and Sam's Club that were charged to the
                School. About $90,228 of that amount were purchases from Amazon that were
                shipped somewhere other than the School, about $225 were purchases for delivery
                to Defendant's home, and about $8,759 were purchases of food, drink or
                medicine. School officials reported that the only place authorized purchases were



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                shipped was directly to the School, and that the School did not purchase food,
                drink or medicine except through a catering service.
        On April 14, 2020, the School received a Paycheck Protection Program ("PPP") loan in
 the amount of approximately $302,500 under the Coronavirus Aid, Relief and Economic
 Security (CARES) Act. The funds were provided by a private lender, but the federal government
 guaranteed repayment. In addition, after the PPP loan to the School was forgiven, the federal
 government reimbursed the lender the full loan amount. During the one-year period following
 April 1, 2020, Defendant embezzled, stole, obtained by fraud, and converted $5,000 or more of
 the School's funds.
                                                  III
                                            PENALTIES
 A.     COUNT I. Defendant understands that the crime to which defendant is pleading guilty
 carries the following penalties:
        l.      A maximum ten years in prison;
        2.      A maximum $250,000 fine;
        3.      A mandatory special assessment of $100 per count; and
        4.      A term of supervised release of not more than 3 years. Defendant understands
                that failure to comply with any of the conditions of supervised release may result
                in revocation of supervised release, requiring defendant to serve in prison all or
                part of the term of supervised release.
        5.      Possible ineligibility for certain Federal benefits.
                                                  IV
                  AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE
                            DISTRICT OF NEBRASKA

        This plea agreement is limited to the United States Attorney's Office for the District of
 Nebraska, and cannot bind any other federal, state or local prosecuting, administrative, or
 regulatory authorities.
                                                   V
                                       SENTENCING ISSUES
 A.     SENTENCING AGREEMENTS.
        Although the parties understand that the Guidelines are advisory and only one of the

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 factors the court will consider under 18 U.S.C. § 3553(a) in imposing a sentence, the parties will
 jointly recommend the following Base Offense Level, Specific Offense Characteristics,
 Adjustments and Departures (if applicable). Unless otherwise stated, all agreements as to
 sentencing issues are made pursuant to Federal Rule of Criminal Procedure 1 l(c)(l)(B).
    1. The parties agree that Defendant's Base Offense Level is six, pursuant to USSG
        § 2Bl.l(a)(l).
    2. The parties agree that the loss should be determined based on all of Defendant's Relevant
        Conduct. The parties further agree that, pursuant to USSG § 1Bl.3(a)(l)(A), Defendant's
        Relevant Conduct includes all the conduct described in the Factual Basis, Section II.B
        above.
    3. The parties agree that Defendant should receive an increase of twelve offense levels
        pursuant to USSG § 2Bl.l(b)(l)(G), for the reason the loss involved more than $250,000
        but not more than $550,000, pursuant to USSG § 2B 1.1 (b)(1 ).
    4. The parties agree that Defendant should receive a two-level reduction to her offense level
        pursuant to USSG § 4Cl.1, if Defendant meets the criteria for that adjustment.
    5. If Defendant is found to be entitled to an offense level reduction under U.S.S.G. 3El.l(a)
        for acceptance of responsibility, the United States hereby moves that the court reduce the
        defendant's offense level by one additional level, pursuant to U.S.S.G. § 3El.l(b), if that
        paragraph otherwise applies.
    6. Except as set forth herein, the parties have no agreement concerning any other offense
        level enhancements or reductions within the United States Sentencing Guidelines.
    7. Defendant agrees to the following regarding Restitution:
            a. The amount of restitution ordered by the Court shall include all Relevant Conduct
 described above, including, but not limited to, all charged and uncharged criminal conduct
 alleged in the Information, and not limited to the count(s) of conviction. The parties agree that
 the Court shall order restitution in the amount of at least $452,176, with the specific amount to
 be determined by the Court at sentencing based on all Relevant Conduct and all evidence then
 available. The parties further agree that an offense listed under 18 U.S.C. § 3663A(c)(l) gave
 rise to this plea agreement, and that restitution is therefore mandatory pursuant to 18 U .S .C.
 § 3663A(c)(2).
            b. Defendant also shall pay the Special Assessment of $100 per count of

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 conviction by submitting a satisfactory form of payment to the Clerk of the Court prior to

 appearing for the sentencing proceeding in this case.

            c. Restitution and Assessment payments shall be made payable to the "U.S. District

 Court Clerk."

            d. Court imposed monetary penalties are due immediately and subject to immediate

 enforcement by the United States. 18 U.S.C. § 3613.

            e. Any Court ordered schedule for restitution payments is merely a minimum

 payment obligation and does not limit the methods by which the United States may immediately

 enforce the judgment in full, including but not limited to enrollment in the Treasury Offset

 Program (TOP) (see 26 U.S.C. § 6402(d); 31 U.S.C. §3720A; 31 U.S.C. § 3716) and

 garnishment of available funds, wages, or assets (see 18 U.S.C. §§3613, 3664(m)).

            f.   If incarcerated, Defendant will participate in the Bureau of Prisons Inmate

 Financial Responsibility Program, regardless of whether the Court specifically directs

 participation or imposes a payment schedule.

            g. Defendant will provide all of defendant's financial information to the United

 States and the Probation Officer, and agrees, if requested, to participate in a pre-sentencing

 debtor exam. Defendant will fully and truthfully disclose all assets and property in which

 Defendant has any interest, or over which Defendant exercises control directly or indirectly,

 including assets and property held by a spouse, nominee or other third party.

            h. At the request of the U.S. Attorney's Office (USAO), Financial Litigation

 Program (FLP), Defendant will promptly execute and return a fully completed and executed

 Financial Disclosure statement under oath, a Tax Information Authorization Form 8821, and a




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 Request for Transcript of Tax Return Form 4506-T. Defendant also agrees to provide the USAO

 FLP copies of financial information that Defendant submitted to the U.S. Probation Office.

            i.   Defendant authorizes the USAO FLP to obtain Credit Reports concerning

 Defendant to enable the USAO to evaluate Defendant's ability to satisfy any financial

 obligations and monetary penalties imposed as part of the sentence, and will execute any Release

 for such information upon request.

            j.   Defendant understands that compliance with USAO requests for financial

 information will be taken into account when the United States makes a recommendation to the

 Court regarding Defendant's acceptance ofresponsibility at sentencing. Defendant's failure to

 timely and accurately complete and sign the financial statement and any update thereto, may, in

 addition to any other penalty or remedy, indicate a failure to accept responsibility.

            k. Defendant's disclosure obligations are ongoing, and are in force from the

 execution of this agreement until Defendant has satisfied restitution in full.

            I. Defendant certifies that Defendant has not transferred assets or property for the

 purpose of (1) evading financial obligations created by this Agreement; (2) evading obligations

 that may be imposed by the Court; nor (3) hindering efforts of the USAO to enforce such

 financial obligations. Defendant promises that Defendant will make no such transfers in the

 future.

            m. If the United States learns of any misrepresentation in the financial disclosure

 statement, or of any asset in which Defendant had an interest at the time of this plea agreement

 that is not disclosed in the financial disclosure statement, and in the event such misrepresentation

 or nondisclosure changes the estimated net worth of Defendant by ten thousand dollars

 ($10,000.00) or more, the United States may at its option: (1) choose to be relieved of its



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 obligations under this plea agreement; or (2) let the plea agreement stand, enforce the full

 forfeiture, restitution, and fines imposed by any criminal or civil judgment, including

 enforcement of 100 percent of the value of any previously undisclosed asset. Defendant agrees

 not to contest enforcement against of such asset or property. If the United States opts to be

 relieved of its obligations under this plea agreement, Defendant's previously entered pleas of

 guilty shall remain in effect and cannot be withdrawn.

 B.     ACCEPTANCE OF RESPONSIBILITY.
        Notwithstanding paragraph A above, the United States will not recommend any
 adjustment for Acceptance of Responsibility if defendant:
        1.          Fails to admit a complete factual basis for the guilty plea at the time it is
                    entered, or
        2.          Denies involvement in the offense, gives conflicting statements about
                    that involvement, or is untruthful with the court or probation officer, or
        3.          Fails to appear in court, or
        4.          Engages in additional criminal conduct, or
        5.          Attempts to withdraw the guilty plea, or
        6.          Refuses to abide by any lawful court order, or
        7.          Contests or assists any third party in contesting the forfeiture of
                    property(ies)seized or forfeited in connection with this case.

        The parties further agree the defendant will make no "blanket" objections to the criminal
 history calculation (specific objections based on stated grounds are permitted). Objections to
 criminal history on the basis that the defendant was not the person who was convicted of the
 offense(s) described in the presentence investigation report or on the basis that the defendant was
 not represented by counsel in connection with such conviction(s), if determined to be unfounded,
 are evidence the defendant has not accepted responsibility and the parties agree no credit for
 acceptance of responsibility should be given.
 C.     ADJUSTMENTS, DEPARTURES & REDUCTIONS UNDER 18 U.S.C. § 3553.
        The parties agree that defendant may request or recommend additional downward
 adjustments, departures, including criminal history departures under U.S.S.G. § 4Al .3, and
 sentence reductions under 18 U.S.C. § 3553(a), and that the United States will oppose any such
 downward adjustments, departures, and sentence reductions not set forth in Section V, paragraph
 A above.

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 D.     CRIMINAL HISTORY.
        The parties have no agreement concerning the defendant's Criminal History Category,
 except that if defendant is determined to be a Career Offender, the parties agree that the
 defendant is automatically a Criminal History Category VI pursuant to U.S.S.G. § 4B1.l(b).
 E.     "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION.
        The parties agree that the facts in the "factual basis" paragraph of this agreement, if any,
 are true, and may be considered as "relevant conduct" under U.S.S.G. § 1B1.3 and as the nature
 and circumstances of the offense under 18 U.S.C. § 3553(a)(l).
        The parties agree that all information known by the office of United States Pretrial
 Service may be used by the Probation Office in submitting its presentence report, and may be
 disclosed to the court for purposes of sentencing.
                                                  VI
             DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK
                    The defendant hereby knowingly and expressly waives any and all rights to
 appeal the defendant's conviction and sentence, including any restitution order in this case, and
 including a waiver of all motions, defenses, and objections which the defendant could assert to
 the charges or to the Court's entry of Judgment against the defendant, and including review
 pursuant to 18 U.S.C. § 3742 of any sentence imposed, except:
                    (a) As provided in Section I above, (if this is a conditional guilty plea); and
                    (b) A claim of ineffective assistance of counsel.
        The defendant further knowingly and expressly waives any and all rights to contest the
 defendant's conviction and sentence in any post-conviction proceedings, including any
 proceedings under 28 U.S.C. § 2255, except:
                    (a) The right to timely challenge the defendant's conviction and the sentence
 of the Court should the Eighth Circuit Court of Appeals or the United States Supreme Court later
 find that the charge to which the defendant is agreeing to plead guilty fails to state a crime.
                    (b) The right to seek post-conviction relief based on ineffective assistance of
 counsel.
        If defendant breaches this plea agreement, at any time, in any way, including, but not
 limited to, appealing or collaterally attacking the conviction or sentence, the United States may
 prosecute defendant for any counts, including those with mandatory minimum sentences,


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 dismissed or not charged pursuant to this plea agreement. Additionally, the United States may
 use any factual admissions made by defendant pursuant to this plea agreement in any such
 prosecution.


                                                  VII
                                    BREACH OF AGREEMENT
         Should it be concluded by the United States that the defendant has committed a crime
 subsequent to signing the plea agreement, or otherwise violated this plea agreement, the
 defendant shall then be subject to prosecution for any federal, state, or local crime(s) which this
 agreement otherwise anticipated would be dismissed or not prosecuted. Any such prosecution(s)
 may be premised upon any information, statement, or testimony provided by the defendant.
         In the event the defendant commits a crime or otherwise violates any term or condition of
 this plea agreement, the defendant shall not, because of such violation of this agreement, be
 allowed to withdraw the defendant's plea of guilty, and the United States will be relieved of any
 obligation it otherwise has under this agreement, and may withdraw any motions for dismissal of
 charges or for sentence relief it had already filed.
                                                  VIII
                                     SCOPE OF AGREEMENT
        A. This plea agreement embodies the entire agreement between the parties and
 supersedes any other agreement, written or oral.
        B. By signing this agreement, the defendant agrees that the time between the date the
 defendant signs this agreement and the date of the guilty plea will be excluded under the Speedy
 Trial Act. The defendant stipulates that such period of delay is necessary in order for the
 defendant to have opportunity to enter the anticipated plea of guilty, and that the ends of justice
 served by such period of delay outweigh the best interest of the defendant and the public in a
 speedy trial.
         C. The United States may use ~gainst the defendant any disclosure(s) the defendant has
 made pursuant to this agreement in any civil proceeding. Nothing contained in this agreement
 shall in any manner limit the defendant's civil liability which may otherwise be found to exist, or
 in any manner limit or prevent the United States from pursuing any applicable civil remedy,
 including but not limited to remedies regarding asset forfeiture and/or taxation.
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        D. Pursuant to 18 U.S.C. § 3013, the defendant will pay to the Clerk of the District Court
 the mandatory special assessment of $100 for each felony count to which the defendant pleads
 guilty. The defendant will make this payment at or before the time of sentencing.
        E. By signing this agreement, the defendant waives the right to withdraw the defendant's
 plea of guilty pursuant to Federal Rule of Criminal Procedure 1l(d). The defendant may only
 withdraw the guilty plea in the event the court rejects the plea agreement pursuant to Federal
 Rule of Criminal Procedure 1l(c)(5). Furthermore, defendant understands that if the court
 rejects the plea agreement, whether or not defendant withdraws the guilty plea, the United States
 is relieved of any obligation it had under the agreement and defendant shall be subject to
 prosecution for any federal, state, or local crime(s) which this agreement otherwise anticipated
 would be dismissed or not prosecuted.
        F. This agreement may be withdrawn by the United States at any time prior to its being
 signed by all parties. Further, this proposed plea agreement is automatically withdrawn if the
 properly executed original agreement is not received on or before May 16, 2025, at the United
 States Attorney's Office, District of Nebraska
                                                  IX
               MODIFICATION OF AGREEMENT MUST BE IN WRITING
        No promises, agreements or conditions have been entered into other than those set forth
 in this agreement, and none will be entered into unless in writing and signed by all parties.




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                                                 X
          DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT
        By signing this agreement, defendant certifies that defendant read it (or that it has been
 read to defendant in defendant's native language). Defendant has discussed the terms of this
 agreement with defense counsel and fully understands its meaning and effect.

                                              UNITED STATES OF AMERICA
                                              MATTHEW R. MOLSEN
                                              Acting United States Attorney



 Date
                                                             U.S. ATTORNEY




 Date




 Date
                                                ~Ac..&:-::.
                                               Ryan . Crnkovich
                                               COUNSEL FOR DEFENDANT




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